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11
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13   UNITED STATES OF AMERICA,                        )   CASE NO. 20-CR-00249 RS
                                                      )
14           Plaintiff,                               )
                                                      )   [PROPOSED] ORDER EXCLUDING TIME
15      v.                                            )   FROM JULY 13, 2021 TO JULY 22, 2021 UNDER
                                                      )   THE SPEEDY TRIAL ACT
16   ROWLAND MARCUS ANDRADE,                          )
                                                      )
17           Defendant.                               )
                                                      )
18
19           On July 13, 2021, the parties appeared for a status conference before this Court. Both sets of
20 defense counsel raised issues regarding the status of their legal representation, and this Court ordered

21 that counsel provide an update as to their representation by Monday, July 19, 2021. See Docket 52.

22 Defense counsel then filed two motions to withdraw, which the Court heard on Tuesday, July 20. See

23 Docket No. 56. The Court granted defense counsel’s motions and set this matter for identification of

24 counsel on July 22, 2021.

25           At both hearings, the Court found that an exclusion of time under the Speedy Trial Act for
26 effective preparation of counsel was appropriate. Failure to grant an exclusion of time and a

27 continuance of the matter would deny counsel the reasonable time necessary for effective preparation,

28 taking into account the exercise of due diligence, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv). The Court

     [PROPOSED] ORDER                                 1
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 1 further finds that the ends of justice served by excluding the time from computation under the Speedy

 2 Trial Act outweigh the best interests of the public and the defendant in a speedy trial.

 3          Therefore, IT IS HEREBY ORDERED that the time between and including July 13, 2021 to July

 4 22, 2021 shall be excluded from computation under the Speedy Trial Act, pursuant to 18 U.S.C. §

 5 3161(h)(7)(A), (B)(ii), and (B)(iv).

 6          IT IS SO ORDERED.

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 9 DATED:
                                                         HONORABLE RICHARD SEEBORG
10                                                       United States District Judge

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     [PROPOSED] ORDER                                2
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